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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS


ENRIQUE ZAMARRIPA

                  Plaintiff,
v.
                                                                 Civil Action No.: 3:16-cv-3109
DERAY MCKESSON, et al

                  Defendants.




                   PLAINTIFF’S MOTION FOR ENTRY OF DEFAULT

       Plaintiff Enrique Zamarripa (“Plaintiff”), respectfully moves this the Clerk and this Court

for entry of a default as to Defendant Deray McKesson (“McKesson”), upon the Complaint filed

and served upon McKesson, in accordance with the provisions of Federal Rule of Civil

Procedure (“FRCP”) 55(b)(2) and in support shows the Clerk and this Court the following:

       1.     On November 7, 2016 Plaintiff filed a Complaint in the U.S. District Court for the

Northern District of Texas. A copy of the Complaint is attached hereto as Exhibit 1 as is

incorporated herein by reference.

       2.     On November 18, 2016, a copy of this Complaint and a Summons in a Civil

Action were served upon McKesson at 1104 Bryn Mawr Road, Baltimore, MD 21210. A copy of

the Affidavit of Process Server is attached hereto as Exhibit 2 and is incorporated herein by

reference.

       3.     Since being served on November 18, 2016, McKesson has failed to answer the

Complaint within the twenty-one (21) day period and has therefore defaulted.




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       4.     Pursuant to the provisions of FRCP 55(b)(2), the Clerk and this Court are

empowered to enter a default against McKesson for relief sought by Plaintiff in the Complaint

Dated: July 27, 2018

                                                Respectfully submitted,

                                                /s/ Larry Klayman
                                                Larry Klayman, Esq.
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